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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ELIAS TORRES RAMIREZ,                                Case No. 24-cv-02728-KAW
                                   8                    Plaintiff,
                                                                                              ORDER DENYING MOTION TO
                                   9             v.                                           PROCEED IN FORMA PAUPERIS
                                  10     TAYLOR ALISON SWIFT,                                 Re: Dkt. No. 2
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          On May 7, 2024, Plaintiff Elias Torres Ramirez filed the instant case against Defendants

                                  14   Taylor Swift, Travis Michael Kelce, and “Theresa Tommasi and Val.” (Compl. at 1-2.) Plaintiff

                                  15   alleged that he and Ms. Swift are “married with a Holy Covenant Marraige [sic],” and that he

                                  16   “need[s] a Gaurdianship [sic] and concervertorship [sic] over her immediately.” (Compl. at 3.)

                                  17   Plaintiff further asserts that Mr. Kelce is infringing on his “sacred Relationship,” and seeks

                                  18   “[i]mmediate kill orders for this individual in defence [sic] of my spouse and family.” (Compl. at

                                  19   4.) Plaintiff also filed an application to proceed in forma pauperis (“IFP application”), in which

                                  20   he asserts he is married to Ms. Swift, asserts that his bank name and address is “True

                                  21   Link/Apurnum Consevertorship [sic] for the purposes of people stealing. people at my current

                                  22   location continue to burglarize my place.” (Dkt. No. 2 at 2, 3.) In signing his IFP application,

                                  23   Plaintiff “declare[d] under the penalty of perjury that the foregoing is true and correct and

                                  24   understand that a false statement herein may result in the dismissal of my claims.” (Id. at 4.)

                                  25          This is not the first case Plaintiff has filed against Ms. Swift, nor is it the first time he has

                                  26   asserted that he is married to Ms. Swift in his IFP application. (See Case No. 23-3826-AMO,

                                  27   Ramirez v. Swift, Dkt. No. 3; Case No. 23-3844-CRB, Ramirez v. Gienger, Dkt. No. 10.) Indeed,

                                  28   Plaintiff’s IFP application has been denied and his case dismissed based in part on his IFP
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                                   1   application containing false statements that he is married to Ms. Swift. (See Ramirez v. Gienger,

                                   2   Dkt. Nos. 14 (recommending dismissal of case for failure to provide a complete and accurate IFP

                                   3   application based on Plaintiff’s false statements that he is married to Ms. Swift), 19 (adopting

                                   4   report and recommendation).)

                                   5           Accordingly, the Court DENIES Plaintiff’s IFP application because it contains false

                                   6   statements. Plaintiff may pay the full filing fee by July 5, 2024. Failure to do so will result in the

                                   7   Court reassigning the case to a district judge with the recommendation that the case be dismissed

                                   8   for failure to pay the filing fee.

                                   9           IT IS SO ORDERED.

                                  10   Dated: May 31, 2024
                                                                                              __________________________________
                                  11                                                          KANDIS A. WESTMORE
                                  12                                                          United States Magistrate Judge
Northern District of California
 United States District Court




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